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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-1878-RBJ

ELISABETH EPPS, et al.,

       Plaintiffs,
v.

CITY AND COUNTY OF DENVER, et al.,

       Defendants.


        MOTION TO WITHDRAW ARIELLE HERZBERG AS COUNSEL FOR
                            PLAINTIFFS


       Undersigned counsel for Plaintiffs respectfully moves, pursuant to

D.C.COLO.LAttyR 5(b), to withdraw as counsel of record in the above-captioned case and,

in support of this Motion, states as follows.

       1.      Arielle Herzberg is resigning from the American Civil Liberties Union Foundation

of Colorado, effective August 30, 2022. She will be unable to continue to represent Plaintiffs in

this matter, so there is good cause for her withdrawal as counsel of record.

       2.      Mark Silverstein and Sara R. Neel of the American Civil Liberties Union

Foundation of Colorado, Timothy R. Macdonald, Matthew J. Douglas, Edwin Packard Aro, R.

Reeves Anderson, Colin M. O’Brien, Brian M. Williams, Diana Sterk, Mindy Gorin, Patrick C.

Reidy and Michael J. Sebba from Arnold & Porter Kaye Scholar LLP, will continue to represent

Plaintiffs, who will not suffer any prejudice as a result of the withdrawal of counsel.

       3.      Pursuant to D.C.COLO.LAttyR 5(b), notice of Arielle Herzberg withdrawal as
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Counsel for Plaintiffs in this matter has been provided to the Plaintiffs.

       WHEREFORE, Plaintiffs’ counsel respectfully move for an order granting the

withdrawal of Arielle Herzberg as counsel for Plaintiffs in the above-captioned case.

       Respectfully submitted this 19th day of August 2022.

                                              s/Arielle Herzberg
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                                              Foundation of Colorado
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                                  CERTIFICATE OF SERVICE

    I hereby certify that on August 19, 2022, I filed the foregoing MOTION TO
WITHDRAW ARIELLE HERZBERG AS COUNSEL FOR PLAINTIFFS via CM/ECF,
and the CM/ECF system will send notification to the following:

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Pursuant to D.C. COLO. LCivR 6.1(c), undersigned counsel also served this MOTION TO
WITHDRAW ARIELLE HERZBERG AS COUNSEL FOR PLAINTIFFS via email to
Plaintiffs.
                                               s/Nicole Loy
                                               Nicole Loy
                                               Paralegal
